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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

THOMAS SIERRA,                       )
          Plaintiff,                 )        No. 18 C 3029
                                     )
           v.                        )        Hon. John Z. Lee
                                     )        Hon. M. David Weisman
REYNALDO GUEVARA, et al.,            )
        Defendants.                  )


WILLIAM NEGRON,                      )
          Plaintiff,                 )        No. 18 C 2701
                                     )
           v.                        )        Hon. Joan B. Gottschall
                                     )        Hon. M. David Weisman
REYNALDO GUEVARA, et al.,            )
        Defendants.                  )
                                     )


ARIEL GOMEZ,                         )
          Plaintiff,                 )        No. 18 C 3335
                                     )
           v.                        )        Hon. Charles P. Kocoras
                                     )
REYNALDO GUEVARA, et al.,            )
        Defendants.                  )


RICARDO RODRIGUEZ,                   )
          Plaintiff,                 )        No. 18 C 7951
                                     )
           v.                        )        Hon. Mary M. Rowland
                                     )        Hon. Susan E. Cox
REYNALDO GUEVARA, et al.,            )
        Defendants.                  )
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ROBERT BOUTO,                          )
          Plaintiff,                   )         No. 19 C 2441
                                       )
           v.                          )         Hon. John F. Kness
                                       )         Hon. Susan E. Cox
REYNALDO GUEVARA, et al.,              )
        Defendants.                    )


GERALDO IGLESIAS,                      )
          Plaintiff,                   )         No. 19 C 6508
                                       )
           v.                          )         Hon. Franklin U. Valderrama
                                       )         Hon. Maria Valdez
REYNALDO GUEVARA, et al.,              )
        Defendants.                    )
                                       )


DEMETRIUS JOHNSON,                     )
          Plaintiff,                   )         No. 20 C 4156
                                       )
           v.                          )         Hon. Sara L. Ellis
                                       )         Hon. Heather K. McShain
REYNALDO GUEVARA, et al.,              )
        Defendants.                    )


                                [AGREED ORDER


       Plaintiff’s motion for a protective order to prevent duplicative depositions of
third-party witnesses is resolved by agreement of the parties. Pursuant to that
agreement, it is hereby ordered as follows:

      This Order applies to the following cases in which the plaintiff filed a motion
to prevent duplicative depositions of Rule 404(b) witnesses: Sierra, No. 18 C 3029;
Negron, No. 18 C 2701; Gomez, No. 18 C 3335; Rodriguez, No. 18 C 7951; Bouto, No.
19 C 2441; Iglesias, No. 19 C 6508; Johnson, No. 20 C 4156, as well as Almodovar,
No. 18 C 2341 (collectively, the “Cases”).

      In the Cases, the parties shall conduct a single deposition of each Rule 404(b)
witness disclosed in more than one of the Cases, to be conducted under the
supervision of Magistrate Judge Weisman, as follows:
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            a. Each deposition may last up to eight hours if needed;
            b. The parties shall complete depositions of all of the 404(b) witnesses
               disclosed across multiple Cases by October 29, 2021.
            c. In Almodovar, where a motion to limit Plaintiff’s list of 404(b)
               witnesses is pending, Almodovar’s counsel shall provide fourteen
               (14) days advance notice if Plaintiff Almodovar intends to rely on
               any scheduled 404(b) witness for Almodovar’s 404(b) purposes.


Dated: July 6, 2021

                                         ___________________________________
                                         THE HONORABLE M. DAVID
                                         WEISMAN
                                         Magistrate Judge, U.S. District Court for
                                         the Northern District of Illinois
